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Ian McIntosh
Constance Van Kley
CROWLEY FLECK PLLP
1915 South 19th Avenue
P.O. Box 10969
Bozeman, MT 59719-0969
Telephone: (406) 556-1430
imcintosh@crowleyfleck.com
cvankley@crowleyfleck.com

Attorneys for Defendants

                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

MITCHELL D. KISHINEFF and                  CV-________________
DEBRA L. KISHINEFF,
                                           NOTICE OF REMOVAL
                    Plaintiffs,
vs.
THURMAN L. MCCLENDON; S&H
TRUCKING, INC; and DOES 1–10,

                    Defendants.

      Defendants Thurman McClendon (“McClendon”) and S&H Trucking, Inc.

(“S&H Trucking”), pursuant to 28 U.S.C. §§ 1441 and 1446, hereby give notice of

the removal to this Court of the case titled Mitchell D. Kishineff and Debra L.

Kishineff v. Thurman L. McClendon; S&H Trucking, Inc.; and Does 1–10, filed in

the Thirteenth Judicial District Court, Yellowstone County, Montana, Cause No.

DV 21-0375. The requirements for removal are met.
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      1.      On or about March 31, 2020, Plaintiffs Mitchell D. Kishineff and

Debra L. Kishineff filed this action in the Thirteenth Judicial District Court,

Yellowstone County, Montana. The Complaint names the following defendants:

Thurman L. McClendon, S&H Trucking, Inc., and Does 1–10.

      2.      This action arises out of an accident that allegedly occurred on or

about April 3, 2018. Plaintiffs allege that Mitchell D. Kishineff was driving a

tractor-trailer eastbound on I-90 near Billings on an icy roadway. Compl. ¶ 4.

Plaintiffs allege that Mr. Kishineff was in the left eastbound lane when he saw a

tractor-trailer approaching from behind in the right eastbound lane. Id. Plaintiffs

allege Mr. Kishineff moved from the left to the right lane and that the tractor-trailer

he had seen behind him, driven by Defendant McClendon and owned by S&H

Trucking, struck his tractor-trailer from behind. Id. Plaintiffs allege that Plaintiff

Debra L. Kishineff was a passenger in the tractor-trailer driven by Mr. Kishineff

and that both Mr. and Ms. Kishineff suffered injuries and property damage. Id.

¶¶ 10–11. Plaintiffs have asserted claims for negligence against McClendon and

S&H Trucking.

      3.      S&H Trucking and McClendon were both served on April 23, 2021.

A notice of removal must be filed within thirty days after the named defendant

receives a copy of the complaint, through service or otherwise. 28 U.S.C.

§ 1446(b). The removal period does not begin to run until the defendant is



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properly served or until the defendant waives service. Murphy Bros, Inc. v.

Michetti Pipe Stringing, Inc., 526 U.S. 344, 350 (1999). A named defendant’s 30-

day time period to remove is triggered by simultaneous service of the summons

and complaint, or receipt of the complaint after and apart from service of the

summons, but it is not triggered by “mere receipt” of the complaint without any

formal service. Murphy Bros, Inc., 526 U.S. at 347–48.

      4.      The above described action is a civil action of which this Court has

original jurisdiction pursuant to 28 U.S.C. § 1332(a)(1). The action involves

citizens of diverse states, and an amount in controversy in excess of $75,000.00,

exclusive of interest and costs. It may be removed to this Court pursuant to 28

U.S.C. § 1441.

      5.      Venue is proper in the Billings Division of the United States District

Court for the District of Montana, pursuant to 28 U.S.C. § 1441(a) and Rule 1.2 of

the Local Rules of Procedure for the United States District Court for the District of

Montana. This action is being removed from the state court wherein it was

originally filed in the Thirteenth Judicial District Court, Yellowstone County,

Montana.

      6.      Pursuant to 28 U.S.C.§ 1446(a), attached hereto as Exhibit A are all

process, pleadings, orders, and other papers and exhibits filed in the state action.




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         7.      Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is timely

filed.

         8.      Concurrent with the filing of this Notice of Removal, a Notice of

Filing Notice of Removal pursuant to 28 U.S.C. § 1446(d) will be filed with the

Clerk of Court for the Thirteenth Judicial District, Yellowstone County, Montana,

and Defendants will give written notice to all adverse parties.

                       Complete Diversity Exists as to All Parties

         9.      Plaintiffs allege that they are residents of Delta, British Columbia,

Canada. Compl. ¶ 1. Plaintiffs are citizens of Canada for diversity jurisdiction

purposes.

         10.     Plaintiffs allege that McClendon is a resident of Tennessee. Id. ¶ 2.

Defendant McClendon is a citizen of Tennessee for diversity jurisdiction purposes.

         11.     A corporation is deemed to be a citizen of both the state of its

incorporation and the state where it has its principal place of business. 28 U.S.C.

§ 1332(c)(1); Hertz Corp. v. Friend, 559 U.S. 77, 92–93 (2010).

         12.     Plaintiffs allege that S&H Trucking is organized under the laws of a

State other than Montana and has a principal place of business in the State of

Georgia. Id. ¶ 3.

         13.     S&H Trucking is a Georgia corporation with its principal place of

business in Rossville, Georgia. See Georgia Secretary of State Business Details for



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S&H Trucking, Inc, attached as Exhibit B. Defendant S&H Trucking is a citizen

of Georgia for diversity jurisdiction purposes.

          14.   There is complete diversity of citizenship among the parties to this

action.

                       Amount in Controversy Exceeds $75,000

      15.       Plaintiffs have not stated a specific amount of damages in the

Complaint, but the allegations and demands set forth in Plaintiff’s Complaint

demonstrate that the amount in controversy exceeds $75,000.00, exclusive of

interest and costs.

      16.       Plaintiffs have alleged special and general damages, including

medical expenses, physical and emotional pain and suffering, loss of established

course of life, loss of enjoyment, lost earnings and lost earning capacity, and

damage to and loss of use of property.

      17.       Plaintiffs have confirmed that the amount in controversy requirement

is met for purposes of federal jurisdiction.




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DATED this 13th day of May, 2021.

                             CROWLEY FLECK PLLP


                             By /s/ Constance Van Kley
                               Ian McIntosh
                               Constance Van Kley

                             Attorneys for Defendants




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